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UNITED STATES DISTRICT COURT
SOUHERN DISTRICT OF FLORIDA
FT. I_.AUDERDALE, DIVISION

CASE NO.: l8-60839-CIV~ALTONAGA/SELTZER
CERTAIN UNDERWRITER S at LLOYD’S,
LONDON, SYNDICATES 2623/623
Plaintiff`,
vs.

SOLUTIONS RECOVERY CENTER, LLC,
DANIEL J. CALLAHAN, SEAN CAl LAHAN and
R_ICHARD GLASER,

Defendants.
/

NOTICE OF MEDIATION
PLEASE TAKE`. NOTICE that the mediation in the above captioned
matter has been scheduled as follows:

DATE: November 2(), 2018
TIME: 9:00 A.M.
PLACE: RON SHAPIRO MEDIATIONS, INC.

1571 Sawgrass Corporate Parkway

Suite 130

Sunrise, FL 33323
Telephone: (954) 382-0002

 

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MEDIATION S`UMMARY
Please provide a mediation summary ten days before the
Mediation. (If !he Summary is longer than 10 pages, please do not send

via e-ma:`l orfax. Ifyou do, there is a good chance it will not be read.)

RELEASE
Defense counsel should bring to the mediation, in hard copy and
on a CG-Rorn flash drive, or other portable device, a proposed release

with a blank line for insertion of the monetary consideration for the

release.
CERTIF`ICATE OF SERVICE

1 certify that a true copy of the Notice of Mediation Was taxed on June

20, 2013 101

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